Case: 2:20-mj-00522-CMV Doc #: 1 Filed: 07/28/20 Page: 1 of 24 PAGEID #: 1
Case: 2:20-mj-00522-CMV Doc #: 1 Filed: 07/28/20 Page: 2 of 24 PAGEID #: 2
Case: 2:20-mj-00522-CMV Doc #: 1 Filed: 07/28/20 Page: 3 of 24 PAGEID #: 3
Case: 2:20-mj-00522-CMV Doc #: 1 Filed: 07/28/20 Page: 4 of 24 PAGEID #: 4
Case: 2:20-mj-00522-CMV Doc #: 1 Filed: 07/28/20 Page: 5 of 24 PAGEID #: 5
Case: 2:20-mj-00522-CMV Doc #: 1 Filed: 07/28/20 Page: 6 of 24 PAGEID #: 6
Case: 2:20-mj-00522-CMV Doc #: 1 Filed: 07/28/20 Page: 7 of 24 PAGEID #: 7
Case: 2:20-mj-00522-CMV Doc #: 1 Filed: 07/28/20 Page: 8 of 24 PAGEID #: 8
Case: 2:20-mj-00522-CMV Doc #: 1 Filed: 07/28/20 Page: 9 of 24 PAGEID #: 9
Case: 2:20-mj-00522-CMV Doc #: 1 Filed: 07/28/20 Page: 10 of 24 PAGEID #: 10
Case: 2:20-mj-00522-CMV Doc #: 1 Filed: 07/28/20 Page: 11 of 24 PAGEID #: 11
Case: 2:20-mj-00522-CMV Doc #: 1 Filed: 07/28/20 Page: 12 of 24 PAGEID #: 12
Case: 2:20-mj-00522-CMV Doc #: 1 Filed: 07/28/20 Page: 13 of 24 PAGEID #: 13
Case: 2:20-mj-00522-CMV Doc #: 1 Filed: 07/28/20 Page: 14 of 24 PAGEID #: 14
Case: 2:20-mj-00522-CMV Doc #: 1 Filed: 07/28/20 Page: 15 of 24 PAGEID #: 15
Case: 2:20-mj-00522-CMV Doc #: 1 Filed: 07/28/20 Page: 16 of 24 PAGEID #: 16
Case: 2:20-mj-00522-CMV Doc #: 1 Filed: 07/28/20 Page: 17 of 24 PAGEID #: 17
Case: 2:20-mj-00522-CMV Doc #: 1 Filed: 07/28/20 Page: 18 of 24 PAGEID #: 18
Case: 2:20-mj-00522-CMV Doc #: 1 Filed: 07/28/20 Page: 19 of 24 PAGEID #: 19
Case: 2:20-mj-00522-CMV Doc #: 1 Filed: 07/28/20 Page: 20 of 24 PAGEID #: 20
Case: 2:20-mj-00522-CMV Doc #: 1 Filed: 07/28/20 Page: 21 of 24 PAGEID #: 21
Case: 2:20-mj-00522-CMV Doc #: 1 Filed: 07/28/20 Page: 22 of 24 PAGEID #: 22
Case: 2:20-mj-00522-CMV Doc #: 1 Filed: 07/28/20 Page: 23 of 24 PAGEID #: 23
Case: 2:20-mj-00522-CMV Doc #: 1 Filed: 07/28/20 Page: 24 of 24 PAGEID #: 24
